




Death Opinion














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO.AP-75,540






RAMIRO F. GONZALES, Appellant



v.



THE STATE OF TEXAS





ON DIRECT APPEAL FROM CAUSE NO. 04-02-9091-CR


IN THE 38TH JUDICIAL DISTRICT COURT


MEDINA COUNTY





	Cochran, J., filed a concurring opinion in which Keller, P.J., and Hervey, J.,
joined.


CONCURRING OPINION



	I concur in the resolution of appellant's point of error one and otherwise join the
Court's opinion.  The corpus delicti rule deals with the admission of a person's extrajudicial
confession to a crime and the need for some independent evidence to corroborate that
confession.  In the context of the present case, I think that the corpus delicti rule requires 
evidence that corroborates only the fact of a homicide, not the felony that elevates that
homicide to capital murder.  

	The corpus delicti rule is not one of constitutional magnitude, (1) nor is it statutorily
mandated.  It is a common law, judicially created, rule of evidence, (2) the purpose of which is
to ensure that a person will not be convicted based solely on his own false confession to a
crime that never occurred. (3)  Historically, the corpus delicti rule has required some
corroboration of (1) the occurrence of the specific kind of injury or loss and that (2) the
injury or loss was caused by someone's criminal activity. (4)  Texas has sometimes added a
third requirement: some independent proof that the defendant was connected to the criminal
act.  Thus, in Texas homicide prosecutions, this Court had historically required independent
proof that (1) "the body of the deceased was found and identified"; (2)  he died as a result
of a criminal act (not by accident, natural causes, or suicide); and (3) the defendant is
connected with that criminal act. (5)  That third requirement was finally abolished by this Court
in 1974. (6)  It had never been necessary for the State to offer independent corroboration of each
element of the offense or of the specific method by which the offense was alleged to have
occurred. (7)

	Then, in 1990, a plurality of this Court held that the State was required, in 19.03(a)(2)
capital-murder cases, to offer some corroborative evidence of the underlying felony charged
in the capital-murder indictment. (8)  In Gribble, the plurality began with the generally accepted
statement about the contours of the corpus delicti rule:

	This Court has long subscribed to a variant of the common law rule that an
extrajudicial confession of the accused is insufficient to support conviction
unless corroborated.  In Texas, as in most other American jurisdictions, the
rule has been construed to require independent evidence of the corpus delicti,
not merely support for credibility of the confession.  Although often
inconsistent in our understanding of the term,  we have usually held corpus
delicti to mean harm brought about by the criminal conduct of some person.
Thus, the extrajudicial confession of a criminal defendant must be
corroborated by other evidence tending to show that a crime was committed.
It need not be corroborated as to the person who committed it, since identity
of the perpetrator is not a part of the corpus delicti and may be established by
an extrajudicial confession alone. (9) 

Then, having just set out the common law rule that there must be independent evidence of
"harm" or "a crime," the plurality announced that the "the essential purpose of the
corroboration requirement is to assure that no person be convicted without some independent
evidence showing that the very crime to which he confessed was actually committed[.]" (10)
Thus, Gribble held that the State was required to offer some independent evidence of
kidnapping, the underlying felony that the State had pled in its capital-murder indictment. (11) 
This had not been true under the common law in Texas because the sole purpose of the rule
was to ensure that the defendant is not convicted based on a false confession to a crime that
never happened.  The corpus delicti of any homicide-from capital murder to manslaughter
or negligent homicide-was a dead body and a criminal act (and sometimes evidence that the
defendant was connected to that criminal act).  Period.  The State was never required to
provide independent evidence of the specific manner and means by which the offense was
committed or of any other element of the charged homicide.  This strange new requirement
suddenly jumped into the minds of four members of this Court and has never been further
examined.  Gribble has simply been cited as if it were well-established law with a well-established pedigree. (12)  It is neither.

	Most American courts that still follow the common law corpus delicti rule (13) have
concluded that, in the context of a capital-murder or felony-murder trial, the prosecution need
not provide any independent evidence of the underlying felony. (14)  Proof that a person has
died, coupled with proof of a criminal act that caused that death, suffices to ensure that an
innocent person will not be unjustly convicted of a capital or felony murder that never
occurred. (15)  "Death" is the harm or injury that the corpus delicti rule addresses in homicide
cases.

	Because the majority perpetuates the unwarranted extension of the corpus delicti rule
first made in Gribble, without a logical or historical rationale, I can only respectfully concur
with the result in point of error one.

Filed: June 17, 2009

Do Not Publish

1.  In Opper v. United States, 348 U.S. 84 (1954), the Supreme Court rejected the
common law corpus delicti rule and adopted the "trustworthiness" approach, which it found
to be the "better rule." Id. at 93.  Under that rule, the government must "introduce substantial
independent evidence which would tend to establish the trustworthiness of the [defendant's]
statement."  Id.   But this "corroborative evidence need not be sufficient, independent of the
[defendant's] statements, to establish the corpus delicti."  Id.  See generally United States v.
Abu Ali, 528 F.3d 210, 234-35 (4th Cir. 2008), cert. denied, 129 S.Ct. 1312 (2009).
2.  Although the exact origin of the corpus delicti rule is unknown, its history traces
back to a 17th century English case, Perry's Case, 14 How. St. Tr. 1311 (1660), in which
Thomas A. Mullen, the purported murder victim, disappeared one night, leaving a "hacked
and bloody" hat behind.  The defendant was a suspect, and he soon confessed, implicating
not only himself but his brother and mother in the murder as well.  All three were tried, found
guilty, and executed.  A few years later, Mr. Mullen reappeared, very much alive. See Note,
Proof of the Corpus Delicti Aliunde the Defendant's Confession, 103 U. Pa. L.Rev. 638, 638
(1955).  "This and similar cases led the British courts to question the sufficiency of
confessions to prove that a crime had been committed."  Id. at 639.
3.  See Salazar v. State, 86 S.W.3d 640, 644 (Tex. Crim. App. 2002) ("The corpus
delicti rule guarded against the shocking spectacle and deleterious effect upon the criminal
justice system when a murder victim suddenly reappeared, hale and hearty, after his self-confessed murderer had been tried and executed.") (citing Rollin M. Perkins &amp; Ronald
N. Boyce, Criminal Law 142-50 (3d ed. 1982)); see also Warszower v. United States, 312
U.S. 342, 347 (1941) ("The rule requiring corroboration of confessions protects the
administration of the criminal law against errors in convictions based upon untrue
confessions alone."); East v. State, 175 S.W.2d 603, 605 (Tex. Crim. App. 1942) ("The
wisdom of this rule lies in the fact that no man should be convicted of a crime, the
commission of which he confesses, unless the State shows, by other testimony, that the
confessed crime was in fact committed by someone. The contrary would authorize a return
of conditions that existed in the days of the inquisition."); Commonwealth v. Turza, 16 A.2d
401, 404 (Pa. 1940) (The purpose of the corpus delicti rule is to guard against "the hasty and
unguarded character which is often attached to confessions and admissions and the
consequent danger of a conviction where no crime has in fact been committed.").
4.  See Salazar, 86 S.W.3d at 644.  Although the English common law corpus delicti
rule originally applied only to murder and bigamy cases, when it traveled to America, it
began to be applied to all felonies.  Id.
5.  Black v. State, 128 S.W.2d 406, 409 (Tex. Crim. App. 1939) (upholding defendant's
murder conviction and death sentences when there was sufficient independent corroboration
that victim died from the criminal act of being shoved off a cliff); see also Kugadt v. State,
44 S.W. 989, 996 (Tex. Crim. App. 1898) (murder conviction and death sentence affirmed;
"A dead body, or its remains, having been discovered and identified as that of the person
charged to have been slain, the basis of the corpus delicti being thus fully established, the
next step in the process, and the one which is to complete the proof of that indispensable
preliminary fact, is to show that the death has been occasioned by the criminal acts or agency
of another person.").
6.  Self v. State, 513 S.W.2d 832, 837 (Tex. Crim. App. 1974) (the State provided
independent corroborative evidence that the murder victim had died and that she had died as
the result of a criminal act; defendant's connection to the criminal act could be established
solely through his confession; "All cases heretofore holding that the corpus delicti in a
murder prosecution consists of three elements are hereby overruled to the extent they are in
conflict with this opinion.").
7.  See id.; see also Salazar, 86 S.W.3d at 645 &amp; n.19 (rather than requiring independent
corroboration of each element and descriptive allegation in the indictment, the corpus delicti
rule requires that an out-of-court confession be corroborated by some independent evidence
tending to show the essential nature of the charged crime).
8.  Gribble v. State, 808 S.W.2d 65, 70-71 (Tex. Crim. App. 1990) (plurality op.).
9.  Id. at 70 (footnotes and citations omitted).
10.  Id. at 71 (emphasis added).
11.  Id. 
12.  See, e.g., Emery v. State, 881 S.W.2d 702, 705 (Tex. Crim. App. 1994); Chambers
v. State, 866 S.W.2d 9, 15-16 (Tex. Crim. App. 1993). 
13.  Many state courts, as well as the federal courts, have abolished the corpus delicti
rule, in favor of the "trustworthiness" standard for the admission of extrajudicial confessions.
See, e.g., State v. Mauchley, 67 P.3d 477, 482-83 (Utah 2003) (noting that "the federal courts
and a growing number of state courts" have rejected the common law corpus delicti rule in
favor of the "trustworthiness standard" applied to the admission of the defendant's
confession).
14.  See, e.g., People v. Miller, 236 P.2d 137, 139-40 (Cal. 1951) ("The corpus delicti
of the crime of murder having been established by independent evidence, . . . extrajudicial
statements of the accused . . . may be used to establish the degree of the crime committed").
15.  See Mauchley, 67 P.3d at 482 ("We currently adhere to the orthodox corpus delicti
rule") &amp; 487 (stating that the aggravating circumstances of a capital murder, such as robbery,
are not "part of the corpus delicti"); Hall v. State, 206 S.W.3d 830, 834-35 (Ark. 2005)
(defendant did not contend that there was insufficient evidence of the act of murder; "the
corpus delicti of the crime of murder having been established, the underlying felony of
aggravated robbery was clearly shown by the extrajudicial statements of the accused");
People v. Weaver, 29 P.3d 103, 132-33 (Cal. 2001) (corpus delicti rule did not apply to
underlying felony alleged in capital murder prosecution; "When the People have established
the corpus delicti of murder, a defendant's extrajudicial statements may be admitted to prove
an underlying felony for felony-murder purposes even if the felony cannot be proved by
evidence other than such statements."); Commonwealth v. Bardo, 709 A.2d 871, 874-75 (Pa.
1998) (in capital murder prosecution, corpus delicti was satisfied by independent proof of
child's death by a criminal act, prosecution did not have to provide independent
corroboration of defendant's confession that the killing occurred during the commission of
a felony); State v. Franklin, 304 S.E.2d 579, 586 (N.C. 1983) (holding that "independent
proof of the underlying felony in a felony murder prosecution is not necessary where a
confession, otherwise corroborated as to the murder, includes sufficient facts to support the
existence of the felony.");  Gentry v. State, 416 So.2d 650, 652-53 (Miss. 1982) ("It is well
established in this state that the corpus delicti in a homicide case is made up of two
fundamental facts, the first being the death of the deceased and the second the fact of the
existence of a criminal agency as to the cause of death. . . .  It follows that independent proof
of the felony in a felony-murder prosecution is not necessary if the proof of the felony can
be gathered from the confession.") (quoting Rhone v. State, 254 So.2d 750, 753 (Miss.
1970)); Jones v. State, 252 N.E.2d 572, 578 (Ind. 1969) (stating that "murder in the first
degree can be committed by a homicide which involves premeditated malice, rape, arson,
robbery or burglary, and it is our opinion in this case the corpus delicti is established by
evidence independent of the confession of a homicide from which inferences may be drawn
that it was feloniously done without evidence independent of the confession specifically of
premeditation, rape or any of the other enumerated felonies."); State v. Johnson, 158 A.2d
11, 19-20 (N.J. 1960) ("In a prosecution for premeditated murder, the State is not required
independently to prove those mental elements if the defendant has given a confession that
admits them.  By the same token, independent proof of the felony in a felony-murder
prosecution is not necessary if proof of the felony can be gathered from a corroborated
confession. In our view the State satisfied the burden placed upon it by independently
proving the fact of death, and by producing corroborative evidence tending to establish that
when the defendants confessed that they participated in the holdup and killing they were
telling the truth. We therefore find that the confessions were properly received in evidence
and were amply corroborated."); but see Roach v. Commonwealth, 468 S.E.2d 98, 110 (Va.
1996) (holding that because the corpus delicti of both murder and of robbery were shown by
independent evidence, the corpus delicti of capital murder was sufficiently corroborated);
Maxwell v. State, 828 So.2d 347, 358 (Ala. Crim. App. 2000) (same).

